                 Case 2:19-cv-00682-RSM Document 5 Filed 05/15/19 Page 1 of 1



 1

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   HEATHER WINSLOW BARR,

 9                              Plaintiff,                 Case No. C19-682 RSM

10          v.                                             ORDER GRANTING APPLICATION
                                                           TO PROCEED IN FORMA PAUPERIS
11   JOSEPH STANLEY PIGOTT,

12                              Defendant.

13

14          Plaintiff has filed an application to proceed in forma pauperis (“IFP”) in the above-

15   entitled action. After careful consideration of the application and supporting materials, the Court

16   ORDERS as follows:

17          Plaintiff’s application to proceed IFP (dkt. # 2) is GRANTED. Plaintiff does not appear

18   to have funds available for the $400.00 filing fee. The Clerk is directed to send copies of this

19   order to Plaintiff and to the Honorable Ricardo S. Martinez.

20          Dated this 15th day of May, 2019.


                                                           A
21

22                                                         MICHELLE L. PETERSON
                                                           United States Magistrate Judge
23



     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
